                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION


Louie Gohmert, Tyler Bowyer,
Nancy Cottle, Jake Hoffman,
Anthony Kern, James R. Lamon,
James Moorhead, Robert Montgomery,
Loraine Pellegrino, Greg Safsten,
Kelli Ward and Michael Ward
Plaintiffs


v.                                         Civil Action No. 6:20-cv-00660
                                           (Election Matter)


The Honorable Michael R. Pence, Vice
President of the United States,
in his official capacity,
Defendant
     Notice of Inability of Timothy P. Dowling to Attend December 31,
2020 hearing in person


      To the Honorable Jeremy D. Kernodle, United States District Court Judge:


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      Timothy P. Dowling (“Dowling”) hereby files notice of his inability to

attend a hearing in person in this case on December 31, 2020, and regarding the

same would show the Court the matters set forth below.

   1. Plaintiffs filed a motion today (Document No. 7; the “Motion”) requesting

      that an expedited hearing be held in this case on the Motion in the afternoon

      on December 31, 2020 at a time to be determined. Dowling opposes the

      Motion and the relief sought by Plaintiffs in this case.

   2. The last sentence of the proposed order submitted by Plaintiffs today

      regarding the Motion states “Counsel who cannot attend in person shall

      advise the Court in writing no later than ______ to make arrangements to

      attend by telephone or video conferencing.” By this pleading the Court and

      all parties are hereby advised that Dowling cannot feasibly attend a hearing

      on December 31, 2020 in person in Tyler, Texas, and that he will attend any

      hearing on that date in this case either by telephone or video conferencing as

      permitted by the Court. Dowling intends to file a motion to intervene in this

      case imminently.

                                              Respectfully submitted,




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                                                    /s/ Timothy P. Dowling
                                                    Pro se
                                                    Texas State Bar No. 06083900
                                                    8017 Villefranche Dr.
                                                    Corpus Christi, TX 78414
                                                    (361) 960-3135
                                                    Relampago@aol.com


                         Certificate of service
        The undersigned hereby certifies that counsel for Plaintiffs were served by
filing this motion with the Clerk of this Court, and such counsel were also served
by email service on December 29, 2020 as follows:
              lsessions@sessionslaw.net
              William Sessions

              howard@kleinhendler.com
              Howard Kleinhendler

              ljoseph@larryjoseph.com
              Lawrence Joseph

              hallerjuilia@outlook.com
              Julia Haller

              brandoncjohnson6@aol.com
              Brandon Johnson

                                       /s/ Timothy P. Dowling


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